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INVOICE submitted to:
Supor Properties Bergen Avenue LLC
c/o Andrea Dobin, Trustee
427 Riverview Plaza
Trenton, NJ` 08611

March 13, 2024


Invoice #   29481


            Professional Services

                                                                                    Hours   Amount

 12/1/2023 RNS Review docket and claims register in preparation for case work        0.20    84.00

            RNS Review application filed by debtor's accountant                      0.20    84.00

            RNS Review petiton, schedules, amended schedules and statement of        0.30   126.00
                financial affairs filed by debtor in preparation for case work

            RNS Initial review of appraisal of real property                         0.30   126.00

            RNS Review monthly operating reports filed by debtor for July -          0.30   126.00
                November 2023

            RNS Review proof of claim filed by secured creditor                      0.30   126.00

            RNS Telephone call with trustee re: case background, real estate,        0.40   168.00
                secured creditor, competing plans, strategy, MOR filing and
                related matters

            RNS Initial review of plans and disclosure statements filed by debtor    0.50   210.00
                and secured creditor

 12/3/2023 RNS Review report of investigation filed by trustee                       0.30   126.00
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                                                                                    Hours   Amount

 12/5/2023 RNS Leave message for William Diker re: introduction, request for         0.10       42.00
               return call, list of information needed to be provided

           RNS Draft note to trustee re: contact information needed for debtor's     0.20       84.00
               accountant and related matters; review reply detailing results of
               hearing, confirmation of need to contact accountants

           RNS Draft note to William Diker re: request for records needed for        0.30      126.00
               monthly operating reports and other compliance issues

 12/7/2023 RNS Leave voicemail for William Diker re: followup on earlier message     0.10       42.00
               and email requesting records

 12/8/2023 RNS Review note from William Diker re: confirmation of receipt of         0.10       42.00
               request, followup expected next week; reply

12/12/2023 RNS Draft note to William Diker re: followup on documents requested       0.10       42.00

           RNS Review amended plan and disclosure statement filed by secured         0.20       84.00
               creditor

           RNS Review note from Tom Kellerman re: followup on document               0.20       84.00
               request, pending meeting with debtor's management; reply;
               forward to trustee

           RNS Download MOR template from US Trustee site; initial setup of          0.40      168.00
               monthly operating report for December 2023; research industry
               code

12/14/2023 RNS Review note from Jeffrey Tomei re: correspondence in response         0.20       84.00
               to document request; review correspondence detailing response

           RNS Telephone call with Larry Chodor re: case background, DIP             0.20       84.00
               operations, documents to be requested and related matters

           RNS Draft note to Larry Chodor re: request for records needed for         0.20       84.00
               monthly operating reports and other compliance issues

           RNS Telephone call with trustee re: status of documents requested         0.20       84.00
               from accountants, other case issues

12/15/2023 RNS Review note from trustee re: funds received from bank, requested      0.30      126.00
               bank statements; initial review of bank statements received; reply

  1/3/2024 RNS Draft note to Larry Chodor re: followup on requested financial        0.10       42.50
               information
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                                                                                   Hours   Amount

 1/16/2024 RNS Review joint objection of debtor and Joseph Supor to final           0.20       85.00
               approval of plan and disclosure statement of secured creditor

           RNS Review objection to proof of claim filed by secured creditor by      0.40      170.00
               debtor and supporting documents including certification, leases
               and appraisals

 1/18/2024 RNS Draft note to trustee re: information needed for December MOR,       0.20       85.00
               status of records request to prior accountant; review reply

 1/23/2024 RNS Telephone call with trustee's assistant re: followup on requested    0.10       42.50
               information for MOR and related matters

           RNS Review note from trustee's assistant re: cash receipts and           0.20       85.00
               disbursements ledger for December and bank statement; initial
               review of documents

           RNS Review earlier MOR's filed by debtor; draft note to trustee re:      0.30      127.50
               calculation of US Trustee fees, payment instructions and related
               matters

 1/25/2024 RNS Review note from trustee re: request to new debtor's counsel for     0.20       85.00
               cooperation and records from prior accountant; review reply;
               related followup

           RNS Draft note to trustee re: transmittal of December MOR for review     0.20       85.00
               and approval, process and related matters

           RNS Review and archive executed MOR; file with court                     0.20       85.00

           RNS Draft note to trustee re: need for subpeona to prior accountant      0.30      127.50
               due to lack of response, information needed and contact
               information; review reply

           RNS Draft note to December MOR and compile supporting records            0.40      170.00

           RNS Review cash receipts and disbursements register received from        0.80      340.00
               trustee and December bank statements; prepare monthly
               operating report for December 2023

  2/9/2024 RNS Review findings of fact, conclusions of law and order approving      0.50      212.50
               the third amended disclosure statement in support of third
               amended plan of reorganization or liquidation and related consent
               orders with debtor

 2/14/2024 RNS Draft note to trustee re: information needed for January MOR and     0.30      127.50
               related matters; review reply regarding notice from UST on
               oustanding fees; review file; reply
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                                                                                     Hours   Amount

 2/14/2024 RNS Review note from trustee's assistant re: January bank statement        0.30      127.50
               and ledger; initial review of documents; review related note from
               trustee; reply; related followup

 2/15/2024 RNS Draft note to January MOR and compile supporting records               0.30      127.50

           RNS Review cash receipts and disbursements register received from          1.00      425.00
               trustee and January bank statements; prepare monthly operating
               report for January 2024

 2/19/2024 RNS Review note from trustee re: inquiry from debtor's counsel on          0.10       42.50
               UST fees oustanding, status of resolution and related matters

           RNS Draft note to trustee re: followup on additional information needed    0.10       42.50
               to finalize January MOR and related matters

 2/20/2024 RNS Review note from trustee's assistant re: revised and updated           0.10       42.50
               ledgers; reply

           RNS Review and archive executed MOR; file with court                       0.20       85.00

           RNS Update support for January MOR; draft note to trustee re:              0.30      127.50
               transmittal of January MOR for review and approval, process and
               related matters; review reply

 2/22/2024 RNS Review note from trustee re: effective date of plan, closing of        0.20       85.00
               accounts and related matters; reply

 2/26/2024 RNS Review note from Hugh Ward, US Trustee's office re: account            0.10       42.50
               statement for trustee fees, confirmation of payment received and
               related matters; review statement

  3/5/2024 RNS Draft note to trustee re: request for information needed for           0.20       85.00
               February MOR and related matters; review reply; initial review of
               February ledger

           RNS Prepare MOR template for February report                               0.20       85.00

  3/7/2024 RNS Draft note to January MOR and compile supporting records               0.20       85.00

           RNS Draft note to trustee re: transmittal of February MOR for review       0.20       85.00
               and approval and related matters; review reply

           RNS Review and archive executed MOR; file with court                       0.20       85.00

           RNS Prepare fee application                                                0.80      340.00
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                                                                                   Hours      Amount

   3/7/2024 RNS Review cash receipts and disbursements register received from        0.80        340.00
                trustee and February bank statement; prepare monthly operating
                report for February 2024

            For professional services rendered                                      15.30   $6,474.50

            Additional Charges :

   3/7/2024 Photocopies - 64 @ $.20                                                               12.80

            Total costs                                                                          $12.80


            Total amount of this bill                                                       $6,487.30


                                         Professional Summary
Name                                                                     Hours     Rate       Amount
Robert N. Snyder, Jr., CPA/CFF, MBA, CIRA, CFE                            9.70   425.00     $4,122.50
Robert N. Snyder, Jr., CPA/CFF, MBA, CIRA, CFE                            5.60   420.00     $2,352.00
